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7
                    IN THE UNITED STATES DISTRICT COURT
8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,     )         CR. S-07-0201 FCD
11                                 )
                    Plaintiff,     )
12                                 )
          v.                       )         STIPULATION AND ORDER TO
13                                 )         EXTEND TIME FOR PRELIMINARY
     ROBERT ALLEN BOHANNA and      )         EXAMINATION AND EXCLUDE TIME
14   NORMAN GRESHAM III,           )
                                   )         DATE: May 16, 2007
15                  Defendant.     )         Time: 2:00 p.m.
     ______________________________)         Judge: Gregory G. Hollows
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18        Defendant ROBERT BOHANNA, by and through his counsel, DENNIS
19   S. WAKS, Supervising Assistant Federal Defender, defendant NORMAN
20   GRESHAM III, by and through his counsel CHRISTOPHER HAYDN-MYER,
21   and the United States Government, by and through its counsel,
22   WILLIAM S. WONG, Assistant United States Attorney, hereby
23   stipulate that the preliminary hearing for Robert Bohanna and
24   Norman Gresham III, set for May 11, 2007 be rescheduled for
25   Wednesday, May 16, 2007 at 2:00 p.m.
26        This continuance is being requested because both defense
27   counsel require additional time to review discovery, discuss the
28   case with the government, and pursue investigation.

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1         Further, the Defendants consent to an extension of the time
2    for preliminary examination until May 16, 2007.           Fed. R. Crim. P.
3    5.1(d).    The parties submit that the ends of justice are served
4    by the Court excluding such time, so that they may have
5    reasonable time necessary for effective preparation, taking into
6    account the exercise of due diligence.          18 U.S.C.
7    § 3161(h)(8)(B)(iv).       In particular, the time is required so that
8    the parties can discuss a proposed disposition and conduct
9    investigation.      The parties stipulate that this interest of
10   justice outweighs the interest of the public and the defendants
11   in a speedy filing of an indictment or information, 18 U.S.C. §§
12   3161(b), (h)(8)(A), and further that this good cause outweighs
13   the public’s interest in the prompt disposition of criminal
14   cases.    Fed. R. Crim. P. 5.1(d).
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1         The parties further request that this matter be taken off
2    calendar until May 16, 2007 or such time as either party may
3    request a hearing for a purpose other than preliminary
4    examination.
5
     DATE: May 10, 2007                        Respectfully Submitted,
6
                                               McGREGOR W. SCOTT
7                                              United States Attorney
8
                                                /s/ Dennis S. Waks for
9                                              WILLIAM S. WONG
                                               Assistant U.S. Attorney
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12   DATED: May 10, 2007                       /s/ Rachelle Barbour
                                               Rachelle Barbour
13                                             Assistant Federal Defender
14
     DATED: May 10, 2007                       /s/ Dennis S. Waks
15                                             Supervising Assist. Fed.
                                               Defender
16                                             For ROBERT BOHANNA
17
     DATED:   May 10, 2007                     /s/ Christopher Haydn-Myer
18                                             CHRISTOPHER HAYDN-MYER
                                               Attorney for
19                                             NORMAN GRESHAM, III
20
     SO ORDERED.
21

22   Dated: 5/16/07
23
                                        /s/ Gregory G. Hollows
24
                                        GREGORY G. HOLLOWS
25                                      United States Magistrate Judge
     bohanna.ord2
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